

People v Borden (2018 NY Slip Op 06462)





People v Borden


2018 NY Slip Op 06462


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, NEMOYER, AND TROUTMAN, JJ. (Filed Sept. 28, 2018.) 


KA 17-01041.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vCHAVELO BORDEN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 [4th Dept 1979]). (Appeal from a Judgment of Wyoming County Court, Michael M. Mohun, J. - Attempted Promoting Prison Contraband, 1st Degree).








